        Case 24-90000-elm11          Doc 418 Filed 08/27/24 Entered 08/27/24 14:20:31                Desc
                                     Court Admitted Exhibits Page 1 of 1
BTXN 208 (rev. 07/09)
                        [367] Emergency Motion for Entry of an Order (I) Authorizing the Sale
IN RE: Tommy's           of Walloon Lake Inventory and Associated Equipment, Free and Clear        Case #
Fort Worth, LLC         of All Liens, Claims, and Encumbrances, (II) Rejecting Certain Leases, 24−90000−elm11
                                           and (III) Granting Related Relief
DEBTOR
                                              TYPE OF HEARING

Mark Andrews,                                           VS
Chapter 11 Trustee
PLAINTIFF /                                                                                 DEFENDANT /
MOVANT                                                                                      RESPONDENT


Aaron Kaufman
ATTORNEY                                                                                    ATTORNEY


                                                   EXHIBITS
TRUSTEE'S EXH 1− 4 attached at Dkt [407] (175
pgs; 5 docs) Witness and Exhibit List for Emergency
Hearing Scheduled on August 27, 2024 filed by
Trustee Mark E. Andrews




Shelley Warren                                        8/27/2024                 Edward L. Morris
                                                      HEARING
REPORTED BY                                                                    JUDGE PRESIDING
                                                      DATE
